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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11
                                                      Case No. 20-10343 (LSS)
    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC, 1
                                                      Re: Docket No. 695, 1388
                                 Debtors.             Hearing Date: Oct. 14, 2020 at 10:00 a.m.


           DECLARATION OF ANDREW KIRSCHENBAUM IN SUPPORT OF
            CENTURY’S OBJECTION TO THE COALITION’S MOTION FOR
         ORDER PERMITTING FILING OF PROOF OF CLAIM FORMS SIGNED
       BY AUTHORIZED COUNSEL IN ACCORDANCE WITH BANKRUPTCY CODE
      SECTIONS 501 AND 502, BANKRUPTCY RULE 3001, AND OFFICIAL FORM 410

             I, Andrew Kirschenbaum, pursuant to 28 U.S.C. § 1746(2), under penalty of perjury,

hereby declare as follows:

             1.     I am an associate at the firm O’Melveny & Myers LLP, Counsel for Century

Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance Company

of North America and Indemnity Insurance Company of North America, Westchester Fire

Insurance Company, and Westchester Surplus Lines Insurance Company. I submit this declaration

based on my personal knowledge of the proceedings in In re Boy Scouts of America and Delaware

BSA, LCC, and review of the documents described below.

             2.     Attached hereto as Exhibit 1 is a true and correct copy of an article entitled “Boy

Scouts Bankruptcy Will Cause Ripple Effect Among Abuse Cases in Washington and Across the

Nation, Lawyers Say” by Lewis Kamb, published in the Seattle Times on February 18, 2020,



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Law, Irving, Texas 75038.
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available at https://www.seattletimes.com/seattle-news/boy-scouts-bankruptcy-will-cause-ripple-

effect-among-abuse-cases-in-washington-and-across-the-nation-lawyers-say/.

       3.      Attached hereto as Exhibit 2 is a true and correct copy of an article entitled “Boy

Scouts of America Driven to Ch. 11 by Sex Abuse Claims” by Jeff Montgomery, published on Law360

on February 18, 2020, available at https://www.law360.com/articles/1244711/boy-scouts-of-

america-driven-to-ch-11-by-sex-abuse-claims.

       4.      Attached hereto as Exhibit 3 is a true and correct copy of a press release entitled

“Tribeca Capital Group Offers Financial Help to Victims of Boy Scout Abuse” published on

PRNewswire on October 6, 2020, available at https://www.prnewswire.com/news-releases/tribeca-

capital-group-offers-financial-help-to-victims-of-boy-scout-abuse-301145079.html.

       I declare under pain and penalty of perjury of the laws of the United States that the

foregoing is true and correct.




Dated: October 9, 2020                              Respectfully Submitted,



                                                    By: /s/ Andrew Kirschenbaum

                                                        ANDREW KIRSCHENBAUM
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